2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 1 of 18




                                                   2:19-cv-00307-JMC-MGB
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 2 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 3 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 4 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 5 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 6 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 7 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 8 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 9 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 10 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 11 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 12 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 13 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 14 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 15 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 16 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 17 of 18
2:19-cv-00307-JMC-MGB   Date Filed 02/04/19   Entry Number 1   Page 18 of 18
